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                       UNITED STATES DISTRICT COURT
                            DISTRICT OF NEVADA
                            LAS VEGAS, NEVADA


UNITED STATES OF AMERICA,            )
                                     )    02:03-CR-00202-LRH-PAL
       Plaintiff,                    )
                                     )    February 17, 2006
vs.                                  )
                                     )    MINUTE ORDER
JEFFREY COYNE,                       )
                                     )
       Defendant.                    )
                                     )

PRESENT:
THE HONORABLE Larry R. Hicks, UNITED STATES DISTRICT JUDGE
DEPUTY CLERK: NONE APPEARING               REPORTER:         NONE APPEARING
COUNSEL FOR PLAINTIFF(S):                        NONE APPEARING
COUNSEL FOR DEFENDANT(S):                        NONE APPEARING

MINUTE ORDER IN CHAMBERS:

     Before the court is Defendant Jeffrey Coyne’s Motion for Entry of
Minute Order (Doc. #69). The Court notes that Defendant Coyne filed an
amended motion requesting order to direct Bureau of Prisons to credit
petitioner’s jail time (Doc. #62), the Government responded (Doc.
#63)and a Minute Order denying the motion (Doc. #64) was entered
noting the Court had previously ruled on the same issues in its Minute
order of April 13, 2005 (Doc. #61).

     The Court has reconsidered its earlier rulings and reaches the
same ruling relative to the current motion. Defendant’s motion is
DENIED.

       IT IS SO ORDERED.

                                   LANCE S. WILSON, CLERK



                                   By:        /s/
                                             Deputy Clerk
